               Case 1:22-cr-00459-SAG Document 1 Filed 12/27/22 Page 1 of____
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                                                                                   3:18 pm, Dec 27 2022
                                                                                   AT BALTIMORE
                         IN THE UNITED STATES DISTRICT COURT                       CLERK, U.S. DISTRICT COURT
                                                                                   DISTRICT OF MARYLAND
                            FOR THE DISTRICT OF MARYLAND                                    kn
                                                                                   BY ______________Deputy

                               *
 UNITED STATES OF AMERICA      *                               CRIMINAL NO. SAG 22-cr-459
                               *
     v.                        *
                               *                               (Conspiracy to Distribute and Possess
 MICHAEL ANTHONY HOLLAND,      *                               With Intent to Distribute Controlled
                               *                               Substances, 21 U.S.C. § 846;
          Defendant.           *                               Forfeiture, 21 U.S.C. § 853, 28 U.S.C.
                               *                               § 2461(c), Fed. R. Crim. P. 32.2(a))
                               *
                            *******
                       INFORMATION

                                      COUNT ONE
  (Conspiracy to Distribute and Possess With Intent to Distribute Controlled Substances)

         The U.S. Attorney for the District of Maryland charges that:

         From in or about September, 2021, to on or about February 24, 2022, in the District of

Maryland and elsewhere, the defendant,

                              MICHAEL ANTHONY HOLLAND,

did knowingly, willfully, and unlawfully combine, conspire, confederate and agree with others

known and unknown to distribute and possess with intent to distribute five (5) kilograms or more

of a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance, in violation of 21 U.S.C. Section 841.

21 U.S.C. § 846; 21 U.S.C. § 841(b)(1)(A).
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                                          FORFEITURE

       The U.S. Attorney for the District of Maryland further charges that:

       1.      Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the Defendant that the

United States will seek forfeiture as part of any sentence in accordance with Title 21, United States

Code, Section 853, and Title 28, United States Code, Section 2461(c), in the event of the

Defendant’s conviction(s).

                                       Narcotics Forfeiture

       2.      Pursuant to 21 U.S.C. § 853(a), upon conviction of an offense in violation of the

Controlled Substances Act, as alleged in Count One of the Information, the Defendant shall forfeit

to the United States:

            a. any property constituting, or derived from, any proceeds obtained, directly or

               indirectly, as the result of such violations; and

            b. any property used or intended to be used, in any manner or part, to commit, or to

               facilitate the commission of, such violations.

       3.      The property to be forfeited includes any funds that were furnished or intended to

be furnished in exchange for controlled substances and constitutes proceeds traceable to such

exchanges and was used or intended to be used to facilitate a violation of the Controlled Substances

Act.

                                  Property Subject to Forfeiture

       4.      The property to be forfeited includes, but is not limited to, the following:

               a.       2014    Audi     A7,      Maryland         registration   2EF5860,      VIN:

       WAUWGAFC9EN061304.

               b.        One Polymer 80 handgun, 40 caliber, serial number: none



                                                  2
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               c.        One Magazine for above Polymer 80 handgun, containing approximately

       seven (7) 40 caliber rounds of ammunition;

               d.        One box of PMC Bronze 40 caliber Smith & Wesson ammunition

       containing approximately 40 rounds; and

               e.        One SARACDIS Shotgun, model Emperor, 12 gauge, serial number

       20BHP036 containing approximately three shotgun shells.

                                          Substitute Assets

       4.      Pursuant to 21 U.S.C. § 853(p), if any of the property described above as being

subject to forfeiture, as a result of any act or omission by the Defendant:

               a.        cannot be located upon the exercise of due diligence;

               b.        has been transferred or sold to, or deposited with, a third person;

               c.        has been placed beyond the jurisdiction of the Court;

               d.        has been substantially diminished in value; or

               e.        has been comingled with other property which cannot be subdivided

                         without difficulty,

it is the intent of the United States to seek forfeiture of any other property of the Defendant up to

the value of the property charged with forfeiture in the paragraphs above.

Fed. R. Crim. P. 32.2.
21 U.S.C. § 853.
28 U.S.C. § 2461(c).                                                                Digitally signed
                                                                                    by TAMERA FINE
                                                                                    Date: 2022.12.27
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                                                Erek L
                                                     L. Barron
                                                United States Attorney


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___________________________
Date


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